                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    at CHATTANOOGA

 UNITED STATES OF AMERICA                     )
                                              )
                                              )
 v.                                           )       Case No. 1:07-CR-79
                                              )
 THOMAS HEFFNER                               )       COLLIER/CARTER

                                            ORDER

        On December 4, 2007, Magistrate Judge William B. Mitchell Carter filed a Report and

 Recommendation recommending (a) the Court accept Defendant Thomas Heffner’s

 (“Defendant”) plea of guilty to Count One of the Indictment, the lesser included offense of

 conspiracy to distribute cocaine base (“crack”), in violation of 21 U.S.C. §§ 846, 841(a)(1) and

 (b)(1)(C), in exchange for the undertakings made by the government in the written plea

 agreement; (b) the Court adjudicate Defendant guilty of the charges set forth in Count One of the

 Indictment, the lesser included offense of conspiracy to distribute cocaine base (“crack”), in

 violation of 21 U.S.C. §§ 846, 841(a)(1) and (b)(1)(C); (c) that a decision on whether to accept

 the plea agreement be deferred until sentencing; and (d) Defendant shall remain in custody

 pending sentencing in this matter (Doc. 128). Neither party filed an objection within the given

 ten days. After reviewing the record, the Court agrees with the magistrate judge’s report and

 recommendation. Accordingly, the Court ACCEPTS and ADOPTS the magistrate judge’s

 Report and Recommendation (Doc. 128) pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as

 follows:

        (1) Defendant’s plea of guilty to Count One of the Indictment, the lesser included offense

 of conspiracy to distribute cocaine base (“crack”), in violation of 21 U.S.C. §§ 846, 841(a)(1)

 and (b)(1)(C), in exchange for the undertakings made by the government in the written plea



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 agreement, is ACCEPTED;

        (2) Defendant is hereby ADJUDGED guilty of the charges set forth in Count One of the

 Indictment, the lesser included offense of conspiracy to distribute cocaine base (“crack”), in

 violation of 21 U.S.C. §§ 846, 841(a)(1) and (b)(1)(C);

        (3) A decision on whether to accept the plea agreement is DEFERRED until sentencing;

 and

        (4) Defendant SHALL REMAIN in custody pending sentencing.

        SO ORDERED.

        ENTER:



                                               /s/
                                               CURTIS L. COLLIER
                                               CHIEF UNITED STATES DISTRICT JUDGE




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